             Case 3:24-mc-80326-LB           Document 1      Filed 12/30/24     Page 1 of 6



 1   Duy Thai, SBN 157345
     DThai@gammalaw.com
 2   Marco Martemucci, SBN 255054
     MMartemucci@gammalaw.com
 3   Gamma Law, P.C.
     One Sansome Street, Suite 3500
 4   San Francisco, California 94104
     Tel.: 415.901.0510
 5   Fax: 415.901.0512

 6   Attorneys for Plaintiff
     Starto Entertainment, Inc.
 7
                               UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
 9

10
      In Re 17 U.S.C. § 512(h) Subpoena to             CASE NO.
      X CORP.
11
                                                       REQUEST TO THE CLERK FOR
                                                       ISSUANCE OF SUBPOENA PURSUANT
12
                                                       TO 17 U.S.C. § 512(h)
13

14

15   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

16          PLEASE TAKE NOTICE THAT Starto Entertainment, Inc. (“Starto” or “Petitioner”)

17   through undersigned counsel and its authorized representatives, hereby requests that the Clerk of

18   this Court, pursuant to the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. 512(h), issue

19   the proposed subpoena to X Corp. to identify certain alleged infringers of certain works in which

20   Starto is the copyright owner, as set forth in the supporting Declaration of Hiroyuki Nakajima

21   (“Nakajima Decl.”) being filed concurrently herewith.

22          In support of its request, Petitioner submits and attaches the following: (1) a proposed

23   subpoena (see Exhibit A); (2) a sworn declaration attesting that the purpose for which the DMCA

24   subpoena is sought is proper under the DMCA (see Nakajima Decl. ¶ 7); and (3) a copy of the

25


                        REQUEST FOR SUBPEONA UNDER 17 U.S.C. 512(h) - 1
                Case 3:24-mc-80326-LB           Document 1        Filed 12/30/24      Page 2 of 6



 1   Section 512(c)(3)(A) notice sent at Starto’s direction to X Corp. (See Schedule 1 of Nakajima

 2   Decl.)

 3             In further support of its request, Petitioner provides the following arguments for the benefit

 4   of the Court and for the benefit of the subpoena recipient.

 5        I.   Argument

 6             Section 512(h) of the DMCA identifies the statutory requirements for a party to request

 7   issuance of a subpoena to obtain information from a service provider for identification of copyright

 8   infringers. First Amendment concerns that may be implicated in some DMCA Section 512(h)

 9   subpoenas are typically raised in a motion to quash. Here, in an effort to preserve court resources,

10   litigation costs, and avoid the delays associated with motion to quash, Petitioner provides the

11   following additional context in support of its request for a subpoena.

12                a. Statutory requirements for a DMCA subpoena to issue are met.

13             Section 512(h) of the DMCA reads, in part: “A copyright owner or a person authorized to

14   act on the owner’s behalf may request the clerk of any United States district court to issue a

15   subpoena to a service provider for identification of an alleged infringer […].” 17 U.S.C. 512(h)(1).

16   Along with the DMCA takedown notice, a proposed subpoena, the requesting party must submit

17   a “sworn declaration to the effect that the purpose for which the subpoena is sought is to obtain

18   the identity of an alleged infringer and that such information will only be used for the purpose of

19   protecting rights under this title.” 17 U.S.C. 512(h)(2).

20             Here, through its submitted sworn declaration and documentary evidence, Petitioner has

21   complied with the statutory requirements under 17 U.S.C. 512(h) for the issuance of a subpoena.

22   See Nakajima Decl., at ¶¶ 1-7 (Doc. 1-2); Schedule 1 of Nakajima Decl. (Doc. 1-3).

23   //

24   //

25


                           REQUEST FOR SUBPEONA UNDER 17 U.S.C. 512(h) - 2
                Case 3:24-mc-80326-LB         Document 1       Filed 12/30/24      Page 3 of 6



 1               b.   First Amendment protections do not prevent issuance of the subpoena.

 2          Some courts (and parties) take the view that unmasking the identities of anonymous

 3   speakers on the internet requires additional steps not identified in the DMCA to adequately protect

 4   users’ free speech rights under the First Amendment. See, e.g., In re DMCA § 512(H) Subpoena

 5   to Twitter, Inc., 608 F. Supp. 3d 868, 876-79 (N.D. Cal. June, 21, 2022) (“Bayside”).

 6          Free speech protections under the First Amendment extend to anonymous speech on the

 7   Internet. Reno v. Am. Civil Liberties Union, 521 U.S. 844, 870 (1997); Brown v. Entm’t Merch.

 8   Ass’n, 564 U.S. 786, 790 (2011). While the right to speak anonymously is not absolute, First

 9   Amendment safeguards may apply when a litigant seeks to unmask an anonymous speaker on the

10   Internet in purported efforts to pursue claims against that person. Bayside, at 876-79 (citations

11   omitted); Baugher v. GoDaddy.com LLC, 2021 WL 4942658, at *2-3 (D. Ariz. Oct. 22, 2021).

12   However, “to the extent that anonymity is used to mask copyright infringement . . . it is unprotected

13   by the First Amendment.” Arista Recs., LLC v. Doe 3, 604 F.3d 110, 118 (2d Cir. 2010). Courts

14   in this District and elsewhere may accordingly decline heightened First Amendment scrutiny to

15   the speech itself when an individual “effectively use[s] his privacy interest to operate anonymously

16   on the Internet to hide copyright infringement.” See Strike 3 Holdings, LLC v. Doe, 2018 WL

17   10604533, at *2 (N.D. Cal. Sept. 14, 2018). While the First Amendment may not ultimately protect

18   the speech at issue, courts nevertheless generally conduct a First Amendment analysis in the

19   unmasking process. 1

20          At least one court has held that, for a DMCA subpoena to be used to unmask an anonymous

21   speaker on the Internet consistent with the First Amendment safeguards, a two-step inquiry must

22

23          1
              Petitioner does not concede that courts always apply First Amendment scrutiny to the
     process of analyzing whether to unmask an anonymous speaker, or that such scrutiny is necessary
24   here. Petitioner nonetheless believes it has satisfied the First Amendment test applicable to those
     circumstances as set forth in the case law cited herein, should that test be applied.
25


                         REQUEST FOR SUBPEONA UNDER 17 U.S.C. 512(h) - 3
              Case 3:24-mc-80326-LB           Document 1       Filed 12/30/24      Page 4 of 6



 1   be undertaken, regardless of whether the speech is commercial or non-commercial. See Bayside,

 2   608 F. Supp. 3d at 876 (“First, the party seeking the disclosure must demonstrate a prima facie

 3   case on the merits of its underlying claim.”). This is a higher standard than assessing merely

 4   whether a party has adequately pleaded its claims. In re Rule 45 Subpoenas Issued to Google LLC

 5   & LinkedIn Corp. Dated July 23, 2020, 337 F.R.D. 639, 649 (N.D. Cal. 2020).

 6          Second, the court balances the need for the discovery against the First Amendment interest

 7   at stake.” Id. (emphasis added); Digital Music News LLC v. Superior Court, 226 Cal. App. 4th 216,

 8   230 (2014), disapproved on other grounds in Williams v. Superior Court, 3 Cal.5th 531, 557, fn.

 9   8 (2017) (“Digital Music”); see also see also Williams, 3 Cal.5th at 557 (“Invasions of fundamental

10   interests must be supported by a compelling need that overcomes the grave invasion of privacy”);

11   Music Grp. Macao Com. Offshore Ltd. v. Does, 82 F. Supp. 3d 979, 982 (N.D. Cal. 2015)

12   (withdrawing prior order because the speaker’s “First Amendment rights outweigh[ed] plaintiffs’

13   need for the requested information[]”). Under this factor, the subpoenaing party must establish that

14   it has a compelling need for the user data it seeks relating to the anonymous speaker.

15          In that balancing inquiry, “Courts consider four factors: whether ‘(1) the subpoena seeking

16   the information was issued in good faith and not for any improper purpose, (2) the information

17   sought relates to a core claim or defense, (3) the identifying information is directly and materially

18   relevant to that claim or defense, and (4) information sufficient to establish or to disprove that

19   claim or defense is unavailable from any other source.’” Castro v. Doe, No. 23-MC-80198-TSH,

20   2023 WL 9232964, at *5 (N.D. Cal. Oct. 12, 2023) (quoting Rich v. Butowsky, No. 20-MC-80081-

21   DMR, 2020 WL 5910069, at *3–4 (N.D. Cal. Oct. 6, 2020)).

22          This applies regardless of whether the party seeking disclosure has served a third-party

23   subpoena under Fed. R. Civ. P. 45 or a subpoena under the DMCA. Id. at 877-83; Baugher, 2021

24   WL 4942658, at *2-3; In re Subpoena to Reddit, Inc., 2024 WL 477519, at *2-3 (N.D. Cal. Feb.

25


                         REQUEST FOR SUBPEONA UNDER 17 U.S.C. 512(h) - 4
              Case 3:24-mc-80326-LB           Document 1        Filed 12/30/24      Page 5 of 6



 1   7, 2024). It applies even in the context of allegedly commercial speech. Music Grp. Macao Com.

 2   Offshore Ltd. v. Does, 82 F. Supp. 3d 979, 985 (N.D. Cal. 2015).

 3          Here, Starto has satisfied both aspects of this two-part test and is entitled to issuance of a

 4   subpoena that would unmask anonymous users here.

 5          Starto has demonstrated a prima facie case for copyright infringement. Starto is the

 6   copyright owner for the original works being copied by the X Corp. accountholders at issue in the

 7   requested subpoena. Nakajima Decl. ¶ 4 (Doc. 1-2); Schedule 1 to Nakajima Decl. (Doc. 1-3). This

 8   fact is uncontested. Starto has also demonstrated that the alleged infringers violated at least one

 9   exclusive right granted to copyright holders under 17 U.S.C. § 106. Nakajima Decl. ¶ 4 (Doc. 1-

10   2) (“Starto recently discovered that some of the materials relating to its events and music, to which

11   Starto owns the copyrights (i.e. artwork/media associated with concerts or events), have been in

12   whole or in part copied, published, displayed, and/or distributed without its authorization by

13   anonymous internet users using the social media platform “X” platform (formerly known as

14   Twitter) owned and operated by X Corp.”); Schedule 1 to Nakajima Decl. (Doc. 1-3) (DMCA

15   takedown notice, dated May 2, 2024, identifying infringer accounts and instances of the

16   copyrighted works being copied on X Corp.’s platform).

17          Likewise, Starto can demonstrate that its need for the subpoenaed information outweighs

18   any First Amendment interests. All four factors weigh in favor of granting the subpoena: (A) the

19   subpoena is sought in good faith, i.e., to pursue copyright claims against the infringers; (B) the

20   information sought relates to a core claim, i.e., copyright infringement; (C) the identifying

21   information is directly and materially relevant to that claim, i.e., the identities of the infringers,

22   which are necessary to bring copyright claims against them; and (D) the information sought is

23   unavailable from any other source, because the infringement occurred on X Corp.’s platform by X

24   users for who only X Corp. holds account information and identifying information.

25


                         REQUEST FOR SUBPEONA UNDER 17 U.S.C. 512(h) - 5
             Case 3:24-mc-80326-LB           Document 1       Filed 12/30/24      Page 6 of 6



 1    II.   Conclusion and Request

 2          For all the foregoing reasons, Petitioner respectfully requests the issuance of the enclosed,

 3   proposed subpoena.

 4           Dated: December 30, 2024                  GAMMA LAW P.C.

 5                                                     By: _/s/ Marco Martemucci_____________
                                                           Marco Martemucci
 6                                                         Attorney for Starto, Inc.

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                        REQUEST FOR SUBPEONA UNDER 17 U.S.C. 512(h) - 6
